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                                          April 21, 2025
Via ECF

Hon. Victor Marrero
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312                                                                    4//2
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                                                                                           4/22/2025

Re:    Lesh v. Cable News Network, Inc. (CNN), Case 1:24-cv-03132-VM
       Letter Motion For Extension

Dear Judge Marrero:

         I am counsel for Plaintiff in the above-referenced matter.1 I write pursuant to Rules I.A
and I.G of Your Honor’s Individual Practices, as well as Fed. R. Civ. P. 25(a)(1) and 6(b) to
request an extension of Plaintiff’s deadline to file a motion to substitute a new plaintiff due to
Plaintiff Lesh’s passing. Plaintiff seeks an extension of this deadline from June 12, 2025 to a
date to be set by the Court following receipt of the parties’ July 23, 2025 Status Report.

       By way of background, Plaintiff’s counsel filed a suggestion of death of Plaintiff Carol
Lesh on March 14, 2025. ECF No. 51. Pursuant to Rule 25(a)(1), Plaintiff’s deadline to file a
motion for substitution is June 12, 2025.

       On April 15, 2025, the Court ordered “a temporary stay of proceedings pending
scheduled mediation,” with an instruction for the parties to “file a joint status report with the
Court on or before July 23, 2025, informing the Court of the outcome of the mediation and
proposing next steps, if any.” ECF No. 55.

        If the parties fail to resolve this action at the forthcoming mediation, Plaintiff will seek to
file a motion for substitution of a new plaintiff. Defendant intends to oppose that motion.

        However, Plaintiff is concerned that the deadline for making the motion for substitution
will expire during the pendency of the temporary stay of this action. Therefore, Plaintiff seeks
an order from the Court clarifying that Plaintiff may file the motion if and when the Court lifts
the stay of this action with defendant reserving all rights to oppose. Therefore, Plaintiff requests
that the Court formally grant an extension of this deadline until a new date to be addressed in the
parties’ July 23, 2025 joint status report.


1
 On March 14, 2025, Plaintiff’s counsel filed a Suggestion of Death on behalf of Ms. Lesh. Dkt.
No. 51. Plaintiff’s counsel has been retained by another putative class member who will seek to
substitute in as Plaintiff, as set forth herein.
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       This is the first request for an extension of this deadline. Defendant consents to this time
extension request.


                                                                 Respectfully,




                                                                 Yitzchak Kopel

cc: All counsel of record (via ECF)




                                            The deadline for Plaintiff's counsel to file a motion to substitutee
                                            a new plaintiff is hereby extended to a date to be jointly
                                            proposed by the parties in their July 23, 2025 status update.




                                            4/22/2025
